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13
                      IN THE UNITED STATES DISTRICT COURT
14                        FOR THE DISTRICT OF ARIZONA
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     ARIZONA, et al.,                                CASE NO. 2:22-cv-00213-JJT
18
                        Plaintiffs,                    BRIEF OF AMICI
19                                                  CURIAE PACIFIC LEGAL
            v.                                     FOUNDATION, ARKANSAS
20                                                 VALLEY ADVENTURE, LLC,
     MARTIN J. WALSH, et al.,                       AND COLORADO RIVER
21                                                OUTFITTERS ASSOCIATION IN
                        Defendants.                SUPPORT OF MOTION FOR
22                                                      PRELIMINARY
                                                         INJUNCTION
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 1          In issuing Executive Order 14026 (President Biden’s EO) and its
 2   implementing regulation, the Executive Branch lays claim to power over vast
 3   portions of the national economy—extending even to businesses like amicus curiae
 4   Arkansas Valley Adventure who simply hold permits to use federal lands.1 As
 5   Plaintiffs argue, applying the executive order to permittees far exceeds the
 6   Executive’s statutory powers over federal contractors and wrongfully usurps
 7   Congress’s authority to decide major policy questions. Docket No. 21, at 11–13
 8   (“Mot.”). Amici have litigated the applicability of the wage rule and its application
 9   to permittees. See Bradford v. U.S. Dep’t of Labor, No. 22-1023, Doc. No.
10   10110656538 (10th Cir. Feb. 17, 2022) (holding that Amici are likely to succeed on
11   the merits of their claims and enjoining the wage rule as to seasonal recreational
12   companies operating on federal lands). Amici submit this brief to explain the rule’s
13   significant overreach and to support Plaintiffs’ request for injunctive relief. Amici
14   also explain the economic stakes—the wage rule will harm both businesses and their
15   employees because it is a blunt effort to force an economic policy that harms the
16   diverse entities that it affects.
17                       LEGAL AND FACTUAL BACKGROUND
18          The Procurement Act
19          The Procurement Act authorizes the President to “prescribe policies and
20   directives that the President considers necessary to,” 40 U.S.C. § 121(a), provide
21   “the Federal Government with an economical and efficient system” to conduct four
22   activities: “(1) Procuring and supplying property and nonpersonal services,” “(2)
23   Using available property,” “(3) Disposing of surplus property,” and “(4) Records
24   management,” id. § 101. The President usually exercises these powers by issuing
25   executive orders, which, in turn, direct agencies to enact rules. Typically, these rules
26          1
              No party’s counsel authored this brief in whole or in part, and no party or party’s
27   counsel made a monetary contribution to fund the preparation or submission of this brief.
     No person or entity other than amicus curiae or their counsel made a monetary contribution
28   to the preparation or submission of this brief.




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 1   effect procurement policy by targeting businesses that sell the government goods or
 2   services.
 3         The Executive Orders
 4         Executive Order (“EO”) 14026 replaced two previous executive orders:
 5   President Obama’s EO 13658 and President Trump’s EO 13838. All three orders
 6   had directed the U.S. Department of Labor’s Wage & Hour Division to issue
 7   implementing rules.
 8                 President Obama’s Executive Order: EO 13658, issued by President
 9   Obama, imposed a minimum wage of $10.10/hour, plus annual increases, for all
10   entities that are party to “contracts, contract-like instruments, and solicitations” with
11   the federal government. 79 Fed. Reg. 9851 (Feb. 12, 2014); 79 Fed. Reg. 60,634
12   (Oct. 7, 2014) (final rule implementing the order). And covered entities were
13   required in turn to require subcontractors (and their subcontractors, etc.) to pay the
14   EO 13658 minimum wage.
15         The deliberate breadth of President Obama’s wage rule had significant
16   consequences for businesses that could hardly be thought of as “federal contractors.”
17   Indeed, companies like Amici Arkansas Valley Adventure and the members of the
18   Colorado River Outfitters Association, who did no more than use federal lands to
19   provide recreational opportunities to the public, appeared to fall under the rule’s
20   directives.
21         After intense lobbying efforts from the affected industry, and objections from
22   Members of Congress, the agency delayed enforcement and implementation for
23   many companies that held special use permits for federal lands.
24                 President Trump’s Executive Order: In 2018, President Trump
25   issued EO 13838 to cut back the wage rule’s broad scope. 83 Fed. Reg. 25,341 (May
26   25, 2018); 83 Fed. Reg. 48,537 (Sept. 26, 2018) (final rule implementing the order).
27   The executive order recognized that seasonal recreational companies’ business
28   models and wage structures would cause the wage increase to be economically



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 1   infeasible, raise costs for the public, and suppress the hours that employers can offer
 2   to workers. Concluding therefore that the application of the Obama order to such
 3   businesses is not “economical and efficient,” the Trump order exempted from the
 4   Obama order “contracts or contract-like instruments entered into with the Federal
 5   Government in connection with seasonal recreational services or seasonal
 6   recreational equipment rental for the general public on Federal lands.” 83 Fed. Reg.
 7   at 25,341. Like its predecessor, the Trump order also resulted in an updated rule from
 8   DOL.
 9                President Biden’s Executive Order: Thereafter, President Biden
10   issued EO 14026. 86 Fed. Reg. 22,835 (Apr. 27, 2021); 86 Fed. Reg. 67,126 (Nov.
11   24, 2021) (final rule implementing the order). The order and subsequent rule raised
12   the minimum wage to $15/hour plus overtime and annual increases for firms that
13   seek or possess federal contracts, as well as companies operating on federal land
14   pursuant to “contract-like instruments,” including permits. The order also
15   specifically revoked the exemption for seasonal recreational businesses created by
16   the Trump order. In the implementing regulation, DOL bluntly acknowledged that
17   the rule was designed to apply to businesses that were not traditionally understood
18   to be federal contractors, and specifically had eliminated any exemptions for “non-
19   procurement” contractors. 86 Fed. Reg. at 67,206.2
20                                  AMICI’S INTEREST
21          Pacific Legal Foundation is a nonprofit, tax-exempt California corporation
22   organized to litigate matters affecting the public interest in individual liberty,
23   property rights, and the separation of powers. Founded over 45 years ago, PLF is the
24   most experienced legal organization of its kind and routinely participates as amicus
25
26          2
              As Plaintiffs argue, the Biden order (EO 14026) and its implementing final rule
27   completely failed to explain the Executive’s decision to reverse the exemption for
     recreational businesses operating on federal lands, in violation of the Administrative
28   Procedure Act. Mot. at 22–23; see Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm
     Mut. Auto. Ins. Co., 463 U.S. 29, 48, 50 (1983).


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 1   curiae in important cases concerning constitutional limits on the Executive Branch.
 2   See, e.g., Gundy v. United States, 139 S. Ct. 2116 (2019) (No. 17-6086), 2018 WL
 3   2684377; Lucia v. SEC, 138 S. Ct. 2044 (2018) (No. 17-130), 2018 WL 1156621;
 4   Nat’l Restaurant Ass’n v. Dep’t of Labor, 138 S. Ct. 2697 (2018) (No. 16-920), 2017
 5   WL 727982.
 6          Arkansas Valley Adventure, LLC (“AVA”) is a small business that offers
 7   river-rafting and other recreational services to the public at an accessible price. AVA
 8   is not a federal contractor, but it holds special use permits that allow it to operate in
 9   certain federal lands in Colorado. Because the government considers the permit a
10   “contract-like instrument” relating to federal land for the purpose of offerings
11   services to the public, 86 Fed. Reg. at 67,134, DOL’s wage rule applies against
12   AVA.
13          Colorado River Outfitters Association (“CROA”) is an industry association
14   that represents up to 50 river outfitters, including AVA. Most CROA members
15   possess federal permits that allow them and their clients to access federal lands, also
16   subjecting them to the wage rule.
17          AVA and CROA, represented by PLF, have challenged the executive order’s
18   applicability to recreational businesses operating on federal lands pursuant to federal
19   permits. See Bradford v. U.S. Dep’t of Labor, No. 21-cv-3283, Docket No. 31, 2022
20   WL 204600 (D. Colo. Jan. 24, 2022) (denying plaintiffs’ motion for preliminary
21   injunction); Bradford v. U.S. Dep’t of Labor, No. 22-1023, Doc. 010110646538
22   (10th Cir. Feb. 17, 2022) (granting plaintiffs’ motion for an injunction pending
23   appeal).
24                                       ARGUMENT
25          The challenged wage rule is premised on an interpretation of the Procurement
26   Act that empowers the President to directly and unilaterally manage the affairs of
27   every business that holds a federal permit. If the rule is allowed to stand, the
28   President will be empowered to control enormous portions of the economy—from



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 1   trucking to aviation, finance to fishing. But the Procurement Act is not so capacious.
 2   And the President cannot settle major policy questions without clear congressional
 3   direction. The Biden order and its implementing rule embody a policy choice that
 4   was reserved for Congress. 3 Moreover, as AVA’s and CROA’s experiences
 5   demonstrate, this policy choice has profoundly negative consequences for businesses
 6   and their employees across the country. As a result, the Court should conclude, in
 7   line with the Tenth Circuit, that Plaintiffs are likely to succeed on the merits, and the
 8   Court should issue the requested preliminary injunction. Bradford, No. 22-1023,
 9   Doc. No. 10110656538, at 2 (determining that Amici had demonstrated a “clear and
10   unequivocal” right to relief).
11
            A.     The Procurement Act Does Not Allow the President to Set
12                 Wage Rules
13          Executive orders issued under the Procurement Act have historically targeted
14   federal contractors—businesses that sell the government goods or services. See, e.g.,
15   Non-Retaliation for Disclosure of Compensation Information, 79 Fed. Reg. 20,749
16   (Apr. 8, 2014); Strengthening Protections Against Trafficking in Persons in Federal
17   Contracts, 77 Fed. Reg. 60,029 (Sept. 25, 2012). That is the expected use of the Act.
18          But the Biden order, like the Obama order, directs DOL to impose wage
19   controls not only on those who seek or possess a federal contract but also those who
20   seek or possess a “contract-like instrument,” specifically a “contract-like instrument
21   entered into with the Federal Government in connection with Federal property or
22   lands and relating to offering services for . . . the general public.” 86 Fed. Reg. at
23   22,837 § 8(a)(i)(D). According to the implementing rule, “contract-like instruments”
24   includes federal permits. 86 Fed. Reg. 67,126, 67,134 (Nov. 24, 2021) (final rule).
25
26          3
              The Executive’s claimed power exceeds statutory authority in two ways. First, the
27   Executive Branch’s power is limited in the types of measures it can impose. Second, it can
     impose those measures only against specific types of entities. Because Amici’s situation
28   particularly reveals the latter, Amici focus on the latter only and do not repeat Plaintiffs’
     arguments for the former.


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 1   Thus, the rule’s provisions apply against businesses like AVA, CROA members, and
 2   other businesses who offer recreational services to the public on federal lands,
 3   pursuant to use permits issued by the Forest Service, the Bureau of Land
 4   Management, or other agencies. Id. at 67,147–48.
 5          As Plaintiffs contend, extending EO 14026 to federal permittees demonstrates
 6   how the rule operates far beyond the bounds of the Procurement Act. Mot. at 11–13.
 7   The Act permits the President to issue orders, 40 U.S.C. § 121(a), that provide the
 8   Federal Government with an economical and efficient system for the following
 9   activities:
10          (1) Procuring and supplying property and nonpersonal services . . . .
11          (2) Using available property.
12          (3) Disposing of surplus property.
13          (4) Records management.
14   Id. § 101. For example, subsection (1) authorizes the President to regulate the
15   government’s purchase of supplies or services to maximize procurement economy
16   and efficiency. But issuing permits to businesses like AVA does not fall within any
17   of the categories—not even in the category of “[u]sing available property.”
18          At first blush, providing businesses with permits to access federal lands may
19   seem like “[u]sing available property” or “[d]isposing of surplus property.” Id.
20   § 101(2), (3). But the Act defines “property” to exclude federal lands. See id.
21   § 102(9)(A) (excluding “land reserved or dedicated for national forest or national
22   park purposes,” “land withdrawn or reserved from the public domain,” and property
23   in the “public domain”). Consistent with that definition, the government does not
24   rely on these “property” provisions to defend the rule. Bradford, No. 21-cv-3283,
25   Docket No. 21, at 11 (D. Colo. Dec. 27, 2021).
26          Rather, the government believes the rule’s application to non-procurement
27   companies like AVA is authorized by 40 U.S.C. § 101(1). Id. That subsection, with
28   § 121(a), authorizes the President to regulate how “the Federal Government”



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 1   “suppl[ies] . . . nonpersonal services.” Id. § 101(1). But the government posits that
 2   by issuing use permits to recreational companies, the government supplies
 3   recreational services to the public. See Bradford, No. 21-cv-3283, Docket No. 21, at
 4   11 (noting that the Procurement Act “empowers the Federal Government to
 5   administer a system for both procuring and supplying nonpersonal services”
 6   (cleaned up)). Under this reasoning, the rule allegedly serves to regulate the
 7   government’s own provision of recreational services to the public.
 8         But the government does not supply these recreational services; AVA, CROA
 9   members, and other private recreational businesses do. They provide services to the
10   public on their own behalf. They advertise under their own names, are approached
11   by consumers as a private company, contract with and are paid by consumers
12   directly, and provide their services directly at their own risk of liability. The
13   consumer has no relationship with the government with respect to these services and
14   would be surprised to hear she’s actually the government’s client. The government
15   simply allows, i.e., permits private businesses to provide services on federal land,
16   and that does not transform the government into the entity providing the services.
17   See Christian Legal Soc’y v. Martinez, 561 U.S. 661, 684–85 (2010) (a school that
18   permits a religious group to use its facilities does not thereby provide religious
19   services); Noel v. N.Y.C. Taxi & Limousine Comm’n, 687 F.3d 63, 70 (2d Cir. 2012)
20   (“An activity does not become a program or activity of a public entity merely
21   because it is licensed by the public entity.” (cleaned up)).
22         Yet the current rule turns a blind eye toward these facts and settled legal
23   principles. To the government, if a business provides a service under a federal
24   permit, the government is really the one providing the service. Bradford, No. 21-cv-
25   3283, Docket No. 21, at 11. And this principle would also extend to businesses that
26   sell goods, i.e., “supply[] . . . property,” pursuant to a federal permit. 40 U.S.C.
27   § 101(1). Nothing in the Procurement Act permits such conceptual gymnastics by
28   which businesses like AVA are brought within its scope.



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 1         Plaintiffs’ motion and complaint demonstrate the many important federalism
 2   and separation-of-powers concerns at stake. To those, Amici add one more: If the
 3   rule were allowed to stand, the President’s Procurement Act authority will extend to
 4   federal permittees, giving him unilateral, direct control over a vast number of
 5   businesses—from construction companies that require Clean Water Act permits, see
 6   33 U.S.C. § 1342, to fishermen, see 16 U.S.C. § 1853, to moving companies and
 7   other transportation businesses, 49 C.F.R. § 365.101, and much more. The Court
 8   should stop the Executive Branch’s sweeping—and unconstitutional—power grab.
 9         B.     The Rule Does Not Implement an Economical and Efficient System
10                for Procurement

11         That’s not all. The Procurement Act only empowers the President to “provide
12   the Federal Government with an economical and efficient system” to conduct the
13   four enumerated activities. 40 U.S.C. § 101 (emphasis added). Although the
14   President may issue orders “he considers necessary” to achieve economy and
15   efficiency, id. § 121(a), the D.C. Circuit has nonetheless observed that the economy-
16   and-efficiency requirement must meaningfully limit the President’s prerogative;
17   otherwise, the President would have a “blank check” to act, and the Act would be
18   invalid as a forbidden delegation of legislative power. AFL-CIO v. Kahn, 618 F.2d
19   784, 793 n.51 (D.C. Cir. 1979) (en banc); see Mot. at 18. Thus, any Presidential
20   order must have a sufficient “nexus” with “likely savings to the Government.” Kahn,
21   618 F.2d at 793.
22         As Plaintiffs point out, Mot. at 15–17, the rule is neither economical nor
23   efficient. Take the rule’s application to AVA and CROA members. The government
24   has no business transactions with federal permittees like AVA. These recreational
25   companies serve only the public. They hold no government contracts and receive no
26   government payments. Since the government does not pay the permittees anything,
27   no regulation of any kind can produce “savings to the Government” with respect to
28



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 1   the permittees. Kahn, 618 F.2d at 793. 4 Although the President asserted that
 2   imposing a $15/hour minimum wage can “enhanc[e] worker productivity and
 3   generat[e] higher-quality work,” “reduc[e] absenteeism and turnover,” and “lowe[r]
 4   supervisory and training costs,” 86 Fed. Reg. at 22,835, these benefit only the
 5   business. In the case of permittees like AVA, they cannot result in reduced
 6   government costs. To uphold the rule, therefore, the Court will have to reject a
 7   meaningful economy-and-efficiency requirement—and reduce the Procurement Act
 8   to the “blank check” of which the D.C. Circuit warned. Kahn, 618 F.2d at 795 n.51.
 9
           C.     The Constitutional-Doubt Canon Requires a Narrow Construction
10                of the Procurement Act
11         The canon of constitutional doubt requires courts to construe statutes to avoid
12   serious constitutional problems “unless such construction is plainly contrary to the
13   intent of Congress.” Edward J. DeBartolo Corp. v. Fla. Gulf Coast Bldg. & Constr.,
14   485 U.S. 568, 575 (1988). This rule of construction prevails even when an agency
15   ordinarily would be entitled to interpretive deference. Id. at 574–75. Thus, if an
16   agency’s broad reading of a statute implicates “concerns over separation of powers
17   principles” under the “nondelegation doctrine,” a court must read the statute
18   narrowly to avoid such concerns. BST Holdings, LLC v. OSHA, 17 F.4th 604, 611,
19   617 (5th Cir. 2021).
20         An interpretation of the Procurement Act that permits the rule to stand would
21   so weaken statutory limits as to “raise a nondelegation problem.” Tiger Lily, LLC v.
22   HUD, 5 F.4th 666, 672 (6th Cir. 2021). “In applying the nondelegation doctrine, the
23   ‘degree of agency discretion that is acceptable varies according to the scope of the
24   power congressionally conferred.’” Id. (quoting Whitman v. Am. Trucking Ass’ns,
25   Inc., 531 U.S. 457, 475 (2001)).
26
27         4
               One might imagine that regulating permittees can spark a chain of causation that
     results, eventually, in government savings somewhere. But such a long, speculative chain
28   cannot supply the necessary “nexus” between the regulation and the savings. Kahn, 618
     F.2d at 793.


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 1         Here, allowing the President to unilaterally displace existing minimum wage
 2   rules for employers who merely have a special use permit, based on the pretense of
 3   his “procurement” authority, would be akin to saying the President can control any
 4   private company that receives any federal benefit. “Such unfettered power would
 5   likely require greater guidance than” the provisions set out in the Procurement Act.
 6   Id. If the Procurement Act can allow mandates far afield from traditional contracting
 7   activity, it raises “serious concerns” that the Act “runs afoul of the nondelegation
 8   doctrine.” Kentucky v. Biden, No. 21-cv-55, 2021 WL 5587446, at *8 (E.D. Ky. Nov.
 9   30, 2021). Likewise, holding that economy and efficiency are served by increasing
10   costs for the public and firms subject to the rule, while producing no savings for the
11   government, would render that requirement a dead letter.
12         Nullifying these key restrictions would provide the President with unlimited
13   discretion. This is not a new concern. Kahn emphasized the need to enforce strict
14   limits under the Procurement Act to avoid “the constitutional prohibition against
15   excessive delegation of legislative power to the President.” 618 F.2d at 793 n.51. To
16   avoid these severe constitutional issues, the Court must narrowly construe the
17   Procurement Act not to authorize uneconomical wage requirements for non-
18   procurement firms.
19
           D.     The Rule Harms Businesses, Their Employees, and
20                Their Customers
21         Aside from simply being unlawful, which is more than enough reason to
22   vacate the rule, it comes with profound consequences for the public.
23         DOL estimated the rule would affect more than 500,000 private firms,
24   including approximately 40,000 firms that provide concessions or recreational
25   services pursuant to special use permits on federal lands. 86 Fed. Reg. at 67,194–96.
26   DOL also estimated the rule would result in “transfers of income from employers to
27   employees in the form of higher wage rates” of “$1.7 billion per year over 10 years,”
28   with “average annualized direct employer costs” of “$2.4 million” for each firm. Id.


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 1   at 67,194. None of these figures include overtime costs, which the government did
 2   not even attempt to calculate—despite the significance of overtime to businesses like
 3   AVA who offer multi-day trips. Id. Unsurprisingly, the “final rule is economically
 4   significant[.]” Id.
 5          And, as DOL recognized, these costs will be particularly troublesome for
 6   companies like AVA or other recreational outfitters. Such firms are “[n]on-
 7   procurement,” as they do not sell goods or services to the government. Id. These
 8   firms “cannot as directly pass costs along to the Federal Government.” Id. Indeed,
 9   the government assures us that the rule “may result in reduced profits” for such firms,
10   or outright losses, ameliorated only to the extent consumers are willing to pay
11   “higher prices.” Id. DOL also recognized that the rule could cause “disemployment”
12   amongst companies operating on federal lands. Id. at 67,211. The rule might also
13   place permittees at a competitive disadvantage with competitors not operating on
14   federal lands and thus not subject to the rule. Id. at 67,208. And because permittees
15   will be forced to raise prices, and permit fees are pegged to prices, permit fees will
16   also rise. Id.
17          Keep in mind—this is DOL’s own assessment. AVA and the other members
18   of CROA face these harms directly. AVA has been in business for more than 20
19   years, guiding its clients down Colorado’s scenic rivers. Every season, AVA
20   employs about 250 people, but like nearly everyone in the industry, AVA pays its
21   guides “trip wages”—fixed rates based on the number of days a trip is expected to
22   take. Many of AVA’s guides come back year after year.
23          CROA’s members follow this same business model. They provide much-
24   needed access to rivers in Colorado and Utah, and pride themselves on making
25   access to the outdoors affordable for their clients. They too overwhelmingly pay trip
26   wages to their guides.
27          River outfitting is a seasonal business. A typical outfitter will conduct 80% of
28   its yearly operations during a few short months in the summer. And river guides are



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 1   also seasonal employees, many of whom are attracted to the unique lifestyle
 2   available to them. Guiding is an opportunity to work outside in awe-inspiring
 3   landscapes, with the freedom that comes with a limited season. Some guides try to
 4   work as many shifts as possible during the season, so that they can save as much
 5   money as possible. Many then spend the remainder of the year traveling, skiing, or
 6   even guiding in South America.
 7         The new rule uses the pretext of an outfitter’s need to pay federal land
 8   agencies for a river use permit as a way to completely upend the traditional way the
 9   industry has operated for decades. It seeks to impose strict hourly reporting
10   requirements for outfitters and force hourly wages and overtime rules for guides that
11   work for multi-day rafting adventures. It eliminates the possibility of a trip wage and
12   replaces it with the absurd requirement that an outfitter pay hourly overtime wages
13   in a situation that makes no sense for the guides.
14         Put simply, most outfitters cannot pay guides overtime wages for days (and
15   nights) on end. Instead, the only way to continue to provide affordable services to
16   their customers is to limit the length of trips and impose strict limits on how many
17   hours a guide can work in a given week. The rule harms everybody, including the
18   guides—who have long depended on the chance to maximize their productivity in a
19   short guiding season.
20         The rule threatens the life of the outdoor guiding industry because the
21   President, acting on his own, decided that he knows best. But the rule will help
22   neither the businesses nor the employees in this industry. Instead, it will gut it.
23                                      CONCLUSION
24         The application of DOL’s wage rule to non-procurement businesses like AVA
25   and CROA’s members demonstrates the “breathtaking amount of authority” that the
26   Executive claims—the power to exercise essentially proprietary control over private
27   businesses merely because they hold federal permits. Ala. Ass’n of Realtors v. Dep’t
28   of Health & Hum. Servs., 141 S. Ct. 2485, 2489 (2021). But when the Executive



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 1   seeks to “exercise powers of vast economic and political significance,” it must have
 2   “clea[r]” statutory authorization. Id. Yet the broad powers claimed by the President
 3   are possible only if the Procurement Act’s limits are implausibly contorted. But the
 4   federal government does not provide whitewater rafting trips down the Colorado
 5   River simply because permittees provide those trips. Nor can the Procurement Act
 6   be read in a manner that ignores its text. Reading it to say that Presidential orders
 7   need not result in cost savings to the government directly contradicts the Act’s
 8   words.
 9         These clear violations of the Procurement Act show that Plaintiffs are correct:
10   the Executive neglected legal limitations in rushing to unilaterally set wages for as
11   much of the national economy as possible. Amici respectfully request the Court
12   enjoin Defendants’ unwarranted and unconstitutional expedition beyond the
13   confines of the Procurement Act.
14
     DATED: April 21, 2022.
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 1                                      Pacific Legal Foundation, Arkansas Valley
 2                                      Adventure, LLC, and Colorado River
                                        Outfitters Association
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 1                               CERTIFICATE OF SERVICE
 2
           I hereby certify that on April 21, 2022, I electronically filed the foregoing with
 3
 4   the Clerk of Court using the CM/ECF system which sent notification of such filing

 5   to all counsel of record.
 6
 7
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